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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )              Case No. 8:07CR150
                       Plaintiff,                 )
                                                  )
       vs.                                        )
                                                  )                   ORDER
DEAUNDRE BRADLEY,                                 )
                                                  )
                       Defendant.                 )


       This case is before the court on defendant Deaundre Bradley's Motion to Continue

(#28) the trial currently set for June 18, 2007 before the Honorable Senior Judge Lyle E.

Strom. The court has today entered an Order (#31) ruling on co-defendant Jermaine

Hickman's motion (#27), which in part, continued the trial.

       IT IS ORDERED:

       1. The defendant Deaundre Bradley's motion (#28) is denied as moot.

       2. The above-entitled case is scheduled for a jury trial before the Honorable Lyle E.

Strom, Senior District Court Judge, to begin Monday, July 30, 2007, at 9:00 a.m. in

Courtroom No. 5, Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th

Plaza, Omaha, Nebraska; because this is a criminal case, defendant(s) must be present

in person. Counsel will receive more specific information regarding the order of trial from

Judge Strom's staff.

       Dated this 15th day of June 2007.

                                               BY THE COURT:


                                               s/ F. A. Gossett
                                               United States Magistrate Judge
